Case 1:25-cv-00698   Document 2-6   Filed 03/10/25   Page 1 of 6




                     EXHIBIT 4
                           Case 1:25-cv-00698                  Document 2-6               Filed 03/10/25             Page 2 of 6

                                                                                                                     5G - 84094001 - 2   Page 1
                                                                                   GRANT NUMBER (FAIN):           84094001
                                                                                   MODIFICATION NUMBER:           2                  DATE OF AWARD
                            U.S. ENVIRONMENTAL                                     PROGRAM CODE:                  5G                 01/16/2025
                                                                                   TYPE OF ACTION                                    MAILING DATE
                            PROTECTION AGENCY                                      No Cost Amendment                                 01/16/2025
                                  Assistance Amendment                             PAYMENT METHOD:                                   ACH#
                                                                                   ASAP
RECIPIENT TYPE:                                                                    Send Payment Request to:
Not for Profit                                                                     Contact EPA RTPFC at:
RECIPIENT:                                                                         PAYEE:
Climate United Fund                                                                Stephanie Horner
7550 WISCONSIN AVE                                                                 7550 WISCONSIN AVE
Fl 8                                                                               3rd Floor
BETHESDA, MD 20814-3559                                                            BETHESDA, MD 20814-3559
EIN:
PROJECT MANAGER                                       EPA PROJECT OFFICER                                     EPA GRANT SPECIALIST
Elizabeth Bafford                                     Michelle Tucker                                         Walker Oneil
7550 Wisconsin Ave                                    1200 Pennsylvania Ave, NW, 19-H16                       OGD- GMBOD, 3093R
3rd Floor                                             Washington, DC 20460                                    1200 Pennsylvania Ave, NW
Bethesda, MD 20814                                    Email:                                                  Washington, DC 20460-0001
Email:                                                Phone:                                                  Email:
Phone:                                                                                                        Phone:
PROJECT TITLE AND EXPLANATION OF CHANGES

GGRF NCIF: Climate United

This agreement provides funding under the Inflation Reduction Act (IRA) to Climate United (CU). The recipient will utilize the funding to reduce emissions of
greenhouse gases and other air pollutants; deliver benefits of greenhouse gas- and air pollution-reducing projects to American communities, particularly low-
income and disadvantaged communities; and mobilize financing and private capital to stimulate additional deployment of greenhouse gas- and air pollution-
reducing projects. Specifically, the recipient will endeavor to accomplish this by working with community groups, technical assistance providers, financial
institutions, and workforce development entities to reduce the barriers and limit the inefficiencies that have prevented broad adoption and financing of clean
technologies. To ensure clean energy acceleration and market transformation beyond the National Clean Investment Fund (NCIF), Climate United will
integrate this capital resource into existing lending products and processes so that all lenders, (i.e., beyond just the community, green and nonprofit sectors)
learn to address decarbonization in their routine lending practices. Greening existing lending with NCIF support will have the broadest transformative impact
on the capital markets nationwide.


This amendment approves the sole-source procurement request, changes to the workplan and detailed budget, and updates to the key contacts.
BUDGET PERIOD                            PROJECT PERIOD                           TOTAL BUDGET PERIOD COST                  TOTAL PROJECT PERIOD COST
04/01/2024 - 06/30/2029                  04/01/2024 - 06/30/2029                  $ 6,970,000,000.00                        $ 6,970,000,000.00

                                                                NOTICE OF AWARD
Based on your Application dated 10/12/2023 including all modifications and amendments, the United States acting by and through the US Environmental
Protection Agency (EPA) hereby awards $ 0.00. EPA agrees to cost-share 100.00% of all approved budget period costs incurred, up to and not exceeding
total federal funding of $ 6,970,000,000.00. Recipient's signature is not required on this agreement. The recipient demonstrates its commitment to carry out
this award by either: 1) drawing down funds within 21 days after the EPA award or amendment mailing date; or 2) not filing a notice of disagreement with the
award terms and conditions within 21 days after the EPA award or amendment mailing date. If the recipient disagrees with the terms and conditions specified
in this award, the authorized representative of the recipient must furnish a notice of disagreement to the EPA Award Official within 21 days after the EPA
award or amendment mailing date. In case of disagreement, and until the disagreement is resolved, the recipient should not draw down on the funds provided
by this award/amendment, and any costs incurred by the recipient are at its own risk. This agreement is subject to applicable EPA regulatory and statutory
provisions, all terms and conditions of this agreement and any attachments.

         ISSUING OFFICE (GRANTS MANAGEMENT OFFICE)                                                  AWARD APPROVAL OFFICE
ORGANIZATION / ADDRESS                                                            ORGANIZATION / ADDRESS
Environmental Protection Agency, Grants Management & Business Operations          Environmental Protection Agency, OGGRF
Division                                                                          OA - Office of the Administrator
1200 Pennsylvania Ave, NW Mail code 3903R                                         1200 Pennsylvania Ave, NW
Washington, DC 20460                                                              Washington, DC 20460
                               THE UNITED STATES OF AMERICA BY THE U.S. ENVIRONMENTAL PROTECTION AGENCY
Digital signature applied by EPA Award Official Katherine Tsing-Choy - Associate Award Official                                                    DATE
                                                                                                                                                   01/16/2025
                         Case 1:25-cv-00698       Document 2-6              Filed 03/10/25    Page 3 of 6

                                                                                              5G - 84094001 - 2   Page 2

                                             EPA Funding Information
              FUNDS                            FORMER AWARD                           THIS ACTION                     AMENDED TOTAL
EPA Amount This Action                           $ 6,970,000,000                               $0                          $ 6,970,000,000
EPA In-Kind Amount                                              $0                             $0                                      $0
Unexpended Prior Year Balance                                   $0                             $0                                      $0
Other Federal Funds                                             $0                             $0                                      $0
Recipient Contribution                                          $0                             $0                                      $0
State Contribution                                              $0                             $0                                      $0
Local Contribution                                              $0                             $0                                      $0
Other Contribution                                              $0                             $0                                      $0
Allowable Project Cost                           $ 6,970,000,000                               $0                          $ 6,970,000,000



Assistance Program (CFDA)                 Statutory Authority                           Regulatory Authority
66.957 - Greenhouse Gas Reduction Fund:   Clean Air Act: Sec. 134(a)(2) and (3)         2 CFR 200, 2 CFR 1500 and 40 CFR 33
National Clean Investment Fund
                           Case 1:25-cv-00698               Document 2-6   Filed 03/10/25   Page 4 of 6

                                                                                            5G - 84094001 - 2   Page 3

Budget Summary Page
                                       Table A - Object Class Category                               Total Approved Allowable
                                             (Non-Construction)                                         Budget Period Cost
 1. Personnel                                                                                                             $ 84,722,869
 2. Fringe Benefits                                                                                                       $ 31,347,462
 3. Travel                                                                                                                  $ 7,181,082
 4. Equipment                                                                                                                        $0
 5. Supplies                                                                                                                $ 1,471,330
 6. Contractual                                                                                                          $ 768,783,830
 7. Construction                                                                                                                     $0
 8. Other                                                                                                              $ 6,037,162,925
 9. Total Direct Charges                                                                                               $ 6,930,669,498
 10. Indirect Costs: 15.00 % Base de minimis MTDC                                                                         $ 39,330,502
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                              $ 6,970,000,000
 12. Total Approved Assistance Amount                                                                                  $ 6,970,000,000
 13. Program Income                                                                                                      $ 315,000,000
 14. Total EPA Amount Awarded This Action                                                                                            $0
 15. Total EPA Amount Awarded To Date                                                                                  $ 6,970,000,000
                      Case 1:25-cv-00698           Document 2-6   Filed 03/10/25   Page 5 of 6

                                                                                   5G -- 84094001
                                                                                   5G    84094001-2
                                                                                                  -2   Page44
                                                                                                       Page

                                                 Administrative Conditions
                                                 Administrative Conditions
All Administrative
All Administrative Conditions
                   Conditions Remain
                              Remain the
                                     the Same.
                     Case 1:25-cv-00698          Document 2-6   Filed 03/10/25   Page 6 of 6

                                                                                 5G -- 84094001
                                                                                 5G    84094001-2
                                                                                                -2   Page55
                                                                                                     Page

                                               Programmatic Conditions
                                               Programmatic Conditions
All Programmatic
All Programmatic Conditions
                 Conditions Remain
                            Remain the
                                   the Same.
